Case 1:15-cr-00637-KAM Document 779 Filed 08/23/21 Page 1 of 2 PageID #: 25786

                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
ALS:CSK                                           271 Cadman Plaza East
F. #2014R00501                                    Brooklyn, New York 11201



                                                  August 23, 2021

By ECF
Honorable Kiyo A. Matsumoto
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                     Re:    United States v. Martin Shkreli
                            Criminal Docket No. 15-637 (S-1) (KAM)

Dear Judge Matsumoto:

        The United States respectfully submits this letter and the enclosed proposed Turnover
Order (the “Proposed Order”) authorizing the turnover of the only two substitute assets (the
“Remaining Substitute Assets”) 1 that were seized pursuant to the Preliminary and Final
Orders of Forfeiture (the “Forfeiture Orders”) entered against defendant Martin Shkreli on or
about March 5, 2018 and September 10, 2018, respectively, and which remain in the
government’s custody. For the reasons set forth herein, the government respectfully requests
that this Court enter the Proposed Order so that the Remaining Substitute Assets can be
turned over to the receiver Derek C. Abbott (the “Receiver”) appointed by the court in
Koestler v. Shkreli, 16-CV-7175 (S.D.N.Y.) (Nathan, J.) (the “SDNY Proceeding”).

        As this Court is aware, pursuant to the Forfeiture Orders, defendant Shkreli was
ordered to, among other things, pay a forfeiture money judgment (the “Forfeiture Judgment”)
in the amount of $7,360,450.00 and forfeit his interest in various substitute assets up to the
amount of the Forfeiture Judgment. In letters filed in this case and in the SDNY Proceeding
on July 27, 2021, the government advised that the Forfeiture Judgment had been satisfied,
and that the Remaining Substitute Assets, neither of which was used to satisfy the Forfeiture
Judgment, remained in the government’s custody. The government further advised that,
because the government has no further interest in the Remaining Substitute Assets pursuant


       1
        The Remaining Substitute Assets consist of: (1) a certificate for preference shares A
in Turing Pharmaceuticals (the “Phoenixus Shares”) representing Shkreli’s interest in
Phoenixus AG; and (2) an engraving on paper by Picasso (the “Picasso Engraving”).
Case 1:15-cr-00637-KAM Document 779 Filed 08/23/21 Page 2 of 2 PageID #: 25787




to the Forfeiture Orders, the government would make these assets available to be turned over
to the receiver appointed in the SDNY Proceeding.

       On August 16, 2021, the court in the SDNY Proceeding entered an Order For
Turnover and Appointment of Receiver (the “SDNY Order”), a copy of which is also
enclosed herewith. Pursuant to paragraphs 1 and 3 of the SDNY Order, and consistent with
the United States’ July 27, 2021 letters, the Proposed Order directs the United States
Marshals Service to turnover and deliver to the Receiver the Remaining Substitute Assets.

       The Receiver, as well as counsel for defendant Shkreli and petitioner Koestler, were
previously provided a copy of the Proposed Order. None of them has any objection.
Accordingly, the government respectfully requests that this Court enter the Proposed Order,
and thereby authorize the turnover of the Remaining Substitute Assets to the Receiver,
subject to the terms contained therein.

         We thank the Court for its consideration of this submission.

                                                    Respectfully submitted,

                                                    JACQUELYN M. KASULIS
                                                    Acting United States Attorney

                                             By:     /s/ Claire S. Kedeshian
                                                    Claire S. Kedeshian
                                                    Assistant U.S. Attorney
                                                    (718) 254-6051
                                                    Claire.Kedeshian@usdoj.gov


Encls.

cc:      All Counsel of Record (by ECF)
         Derek C. Abbott




                                                2
